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EXHIBIT A
Case 4:24-cv-00390-SHL-HCA Document 41-1 Filed 11/05/24 Page 2of5

From: Thomas Story

To: Wessan. Eric

Ce: Linebaugh, Jesse; Stolize, Breanne; Coleman, Craig S.; Rita Bettis; Quinn, Joe R.; Ming Cheung; O"Brien, Emily R.; Valencia, Patrick
Subject: Re: FW: Plaintiffs" Preservation Demand Letter - Selcuk et al. v. Pate et al. (No. 4:24-cv-00390)

Date: Tuesday, November 5, 2024 12:28:16 PM

Attachments: image001.png

Eric,
I just sent an invite for 3PM today. Thank you for your prompt attention to this, and we can discuss further then.

Thomas

On Tue, Nov 5, 2024 at 12:20 PM Wessan, Eric <Eric. Wessan@ag.iowa.gov> wrote:

Dear Thomas,

Your clients sought emergency relief and were denied that relief because you lack a likelihood of success on the merits as
a matter of law. The order denying you relief came out on Sunday afternoon—it is now after noon on election day. Given
the earlier court result, lack of pending TRO (due to its denial), and busy schedule necessitated by it being election day,
our preference is not to return to the court to relitigate an issue that the court has already decided did not warrant
emergency relief. To the extent that auditors or poll workers have questions, they have resources available both at their
county attorneys and with the Secretary of State’s office to clarify questions as they arise. No Iowan should risk having
their vote canceled out by an illegal voter.

Ican meet and confer at 3PM—and will let you know if I have time open before then. Please send a Teams invitation to
Patrick and myself.

Best,

Eric Wessan

Solicitor General

Office of lowa Attorney General Brenna Bird
1305 E. Walnut St.

Des Moines, IA 50319

(515) 823-9117

From: Thomas Story <thomas.story@aclu-ia.ore>
Sent: Tuesday, November 5, 2024 12:00 PM

To: Wessan, Eric <Eric. Wessan@ag.iowa.gov>
Ce: Linebaugh, Jesse <jesse Jinebaugh@ faegredrinker.com>; Stoltze, Breanne <breanne.stoltze@ag.iowa.gov>; Coleman,
Craig S. <craig.coleman@faegredrinker.com>; Rita Bettis <rita, bettis@aclu-ia.org>; Quinn, Joe R.
<joe.quinn@faegredrinker.com>; Ming Cheung <MCheung@aclu.org>; O'Brien, Emily R.
<emily.obrien@faegredrinker.com>; Valencia, Patrick <Patrick. Valencia@ag.iowa.gov>

Subject: Re: FW: Plaintiffs' Preservation Demand Letter - Selcuk et al. v. Pate et al. (No. 4:24-cv-00390)
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Eric,

Thank you for acknowledging receipt of the document preservation letter. Respectfully, the exigent circumstance
is very much still present, as Iowans are casting their ballots today and we are receiving concerning reports of
significant confusion among auditors' offices and pollworkers, which is placing obstacles at the polls for
naturalized citizens attempting to cast their vote. Moreover, this exigency will exist at least through November
12th, when voter challenges are expected to be resolved. It is crucial during this time that we receive (a) the
Secretary's list of voters, including the counties in which they reside and their contact information; (b) the
directions the Secretary has issued to county commissioners charged with implementing his directive; and (c) any
further guidance the Secretary has issued to county commissioners as it relates to the procedures for determining a
voter's citizenship, such as what documentation will be deemed adequate.

If the State is not willing to provide this documentation in advance of a responsive pleading, as you state here,
then we must file a motion for expedited discovery. We should meet and confer on this matter immediately.
Please let us know a time within the next few hours in which you will be available to discuss.

Thanks,

Thomas

From: Wessan, Eric <Eric.Wessan@ag.iowa.gov>

Sent: Monday, November 4, 2024 3:32 PM

To: O'Brien, Emily R. <emily.obrien@faegredrinker.com>

Ce: Linebaugh, Jesse <jesse.linebaugh@faegredrinker.com>; Valencia, Patrick

<Patrick. Valencia@ag.iowa.gov>; Stoltze, Breanne <breanne.stolize@ag.iowa.gov>

Subject: RE: Plaintiffs' Preservation Demand Letter - Selcuk et al. v. Pate et al. (No. 4:24-cv-00390)

This Message originated outside your organization.

Dear Emily,

This document preservation letter is received. The TRO was denied and the exigent circumstance at issue (the
upcoming election) is no longer present.

I believe that we have 60 days from when we waived service to answer or file a motion to dismiss in this case
—although in some other cases Judge Locher has been amenable to resetting the deadlines following
emergency preliminary injunction/TRO. To the extent you wish to engage in discovery in the normal course we
can discuss that at the appropriate time, assuming that if we move to dismiss the Court denies our motion.
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Please let me know if you have any questions.

Best,

Eric Wessan

Solicitor General

{ Office of lowa Attorney General Brenna Bird
4 1305 E. Walnut St.

Des Moines, IA 50319

(515) 823-9117

From: O'Brien, Emily R. <emily.obrien@faegredrinker.com>
Sent: Monday, November 4, 2024 2:53 PM

To: Wessan, Eric <Eric. Wessan@ag.iowa.gov>
Ce: Linebaugh, Jesse <jesse.linebaugh@faegredrinker.com>; Valencia, Patrick

<Patrick. Valencia@ag.iowa.gov>; Stoltze, Breanne <breanne.stoltze@ag.iowa.gov>
Subject: Plaintiffs’ Preservation Demand Letter - Selcuk et al. v. Pate et al. (No. 4:24-cv-00390)

Good afternoon Eric,

I am an Associate at Faegre Drinker Biddle & Reath LLP and am working with Jesse Linebaugh on the above
matter. Please see the attached Preservation Demand Letter.

Please do not hesitate to reach out with any questions.

Thank you,

Emily

Emily R. O'Brien
Associate

Pronouns: she/her/hers
Connect: yCard

+1515 447 4774 direct

801 Grand Avenue, 33rd Floor
Des Moines, lowa 50309, USA

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the sender by reply email and destroy all copies of the original message and any attachments.
